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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v.
                                                     CRIMINAL NO. 1:18-CR-00032-DLF
INTERNET RESEARCH AGENCY LLC., et
al.,

       Defendants.


DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S UNOPPOSED
             MOTION TO MODIFY BRIEFING SCHEDULE

       Defendant Concord Management and Consulting LLC (“Defendant” or “Concord”), by

counsel, respectfully moves for a modification of the Court’s June 4, 2018 Order setting a

briefing schedule for pretrial motions. Undersigned counsel has conferred with counsel for the

United States, who does not oppose the relief sought herein. In support of its request, Defendant

states as follows:

       During the May 15, 2018 status hearing, undersigned counsel represented to the Court

that Concord intended to file several pretrial motions that are not dependent on discovery. In

response to the Court’s request, on June 1, 2018, the parties filed a joint motion for a briefing

schedule. On June 4, 2018, the Court entered an Order setting the schedule for four anticipated

pretrial motions (“the June 4 Order”).

       Concord has filed two of its anticipated pretrial motions. The third anticipated pretrial

motion relates to a request for a hearing regarding selective prosecution. The June 4 Order set a

date of Friday, August 3, 2018 for the filing of that motion.          Concord is continuing its

consideration of whether to file this motion. In order to properly consider the legal issues and, if

appropriate, prepare the motion for filing, Concord respectfully requests that the deadline to file


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the third anticipated pretrial motion be extended to August 31, 2018. If approved by the Court,

Concord suggests that the dates set in Paragraph 4 of the June 4 Order for filing the opposition

and reply remain the same, September 21, 2018 and October 5, 2018, respectively.

       Concord further notes that at present it does not anticipate filing a fourth pretrial motion

to dismiss. The parties’ joint motion for a briefing schedule identified that motion as addressing

a due process challenge regarding the grand jury instructions. This issue was included in

Concord’s second pretrial motion, which was filed on July 16, 2018. As such, Concord is not

requesting a modification of the order to extend the time to file a fourth pretrial motion to

dismiss.

       A proposed order is attached.

Dated: August 1, 2018                               Respectfully submitted,

                                                    CONCORD MANAGEMENT AND
                                                    CONSULTING LLC

                                                    By Counsel

                                                    /s/ Eric A. Dubelier
                                                    Eric A. Dubelier (No. 419412)
                                                    Katherine J. Seikaly (No. 498641)
                                                    Reed Smith LLP
                                                    1301 K Street, N.W.
                                                    Suite 1000 – East Tower
                                                    Washington, D.C. 20005
                                                    202-414-9291 (phone)
                                                    202-414-9299 (fax)
                                                    edubelier@reedsmith.com
                                                    kseikaly@reedsmith.com




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                                  James C. Martin*
                                  Colin E. Wrabley*
                                  REED SMITH LLP
                                  225 Fifth Avenue
                                  Pittsburgh, PA 15222-2716
                                  412.288.3131 (phone)
                                  412.288.3063 (fax)
                                  jcmartin@reedsmith.com
                                  cwrabley@reedsmith.com
                                  *
                                      Admitted Pro Hac Vice




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v.                                                  CRIMINAL NO. 1:18-CR-00032-DLF

INTERNET RESEARCH AGENCY LLC., et
al.,

       Defendants.



                                      [Proposed] ORDER

       Upon consideration of Defendant Concord Management and Consulting LLC’s

Unopposed Motion to Modify the Briefing Schedule, it is hereby ORDERED that the motion is

GRANTED. The date by which Concord may file its third pretrial motion, if it chooses to do so,

is extended to August 31, 2018. If necessary, the government shall file its opposition thereto on

or before September 21, 2018 and the defendant shall file its reply on or before October 5, 2018.



Dated: _________________, 2018                    ______________________________________
                                                  DABNEY L. FRIEDRICH
                                                  United States District Judge
